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  8                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
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 10   STEPHANIE DIANE JORDAN,                 )   Case No.: 2:20-cv-02512-SHK
                                              )
 11               Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
 12         vs.                               )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   ANDREW SAUL,                            )   AND COSTS PURSUANT TO 28
      Commissioner of Social Security,        )   U.S.C. § 1920
 14                                           )
                  Defendant                   )
 15                                           )
                                              )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal

 18   Access to Justice Act Fees, Costs, and Expenses:

 19         IT IS ORDERED that fees and expenses in the amount of $2,000.00 as

 20   authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized

 21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

 22   DATE: 10/26/20

 23                            ___________________________________
                               THE HONORABLE SHASHI KEWALRAMANI
 24                            UNITED STATES MAGISTRATE JUDGE

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